     Case 1:13-cr-00136-DAD-BAM Document 353 Filed 01/06/15 Page 1 of 2
                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
 1
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 5
      ATTORNEY FOR Defendant
 6    SARITH CHIM
 7

 8                            IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF CALIFORNIA
 9
                                                  ******
10    UNITED STATES OF AMERICA,                       Case No.: 1:13-CR-00136-AWI
11
              Plaintiff,
12                                                    REQUEST AND ORDER TO
              v.                                      EXONERATE BOND
13
      SARITH CHIM,
14
              Defendant.
15

16            Defendant, SARITH CHIM, by and through his attorney of record, Anthony P. Capozzi,

17    hereby requests that the following property posted as collateral in the above referenced matter

18    be exonerated and the Deeds returned.

19            1. Sarin Chim and Salynna Sok, Deed No. 2013-0387827 – Docket #167 (filed

20    September 11, 2013).

21            2. Poun Keo and Trisha R. Keo, Deed No. 2013000527569 – Docket #170 (filed

22    September 16, 2013).

23            Respectfully submitted,

24

25    DATED:        December 30, 2014         By: /s/Anthony P. Capozzi
                                                  ANTHONY P. CAPOZZI
26                                                Attorney for SARITH CHIM
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                                      REQUEST AND ORDER TO EXONERATE BOND
                                           CASE NO.: 1:13-CR-00136-AWI
     Case 1:13-cr-00136-DAD-BAM Document 353 Filed 01/06/15 Page 2 of 2
 1                                   ORDER

 2             IT IS HEREBY ORDERED that the property bonds posted in the above entitled matter
 3    are exonerated and returned to the designated parties.
 4

 5    IT IS SO ORDERED.
 6    Dated:    December 31, 2014
                                                  SENIOR DISTRICT JUDGE
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                                  REQUEST AND ORDER TO EXONERATE BOND
                                       CASE NO.: 1:13-CR-00136-AWI
